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From:             Gosewehr, Katie
To:               legal@desertcart.com
Cc:               Eberhart, David R.; #Trader Joe"s Trademark Matter
Subject:          RE: Trader Joe’s Company / DesertCart Trading - [XVM-GSQSF-404]
Date:             Thursday, January 19, 2023 4:42:49 PM
Attachments:      2022.12.16 Trader Joes - Letter to DesertCart enclosing Complaint.pdf


Dear Legal Department:

We write on behalf of Trader Joe’s to follow up on the enclosed correspondence. As
explained therein, DesertCart Trading’s marketing of Trader Joe’s products violates Trader
Joe’s legal rights. Trader Joe’s demands that DesertCart immediately:
  1. Cease and desist from marketing Trader Joe’s products for sale on the Website and
      from distributing or selling any Trader Joe’s products to customers or third party re-
      sellers in the future;
  2. Remove all references to Trader Joe’s, the TRADER JOE’S trademarks and trade
      dress, and Trader Joe’s copyrighted images from the Website and any associated
      websites, mobile applications, or social media pages; and
  3. Refrain from using the TRADER JOE’S trademarks, retail trade dress images, and
      Trader Joe’s product packaging images on the Website and any associated websites,
      mobile applications, or social media pages.

Please provide a response at your earliest convenience. If you do not confirm your
compliance with these demands, Trader Joe’s is prepared to initiate litigation against you
by filing the enclosed complaint.

Best,
Katie

From: Vuong, Maggie <mvuong@omm.com>
Sent: Tuesday, December 20, 2022 2:03 PM
To: legal@desertcart.com
Cc: Eberhart, David R. <deberhart@omm.com>; Pink, Scott W. <spink@omm.com>; Gosewehr, Katie
<kgosewehr@omm.com>
Subject: FW: Trader Joe’s Company / DesertCart Trading - [XVM-GSQSF-404]

Legal Department:

Per Ms. April Marie’s email, please find attached correspondence from David Eberhart dated
December 16, 2022.

Thank you.

Maggie

O’Melveny
Maggie T. Vuong
Assistant to Adam KohSweeney, David Almeling, Susannah Howard, Bill Trac, Kristin MacDonnell, Katie
Gosewehr, Madeleine Patton, Katy Ho, Rebecca Kim, Pooja Abhyankar, and Kiphanie Radford
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From: April Marie <support@desertcart.ae>
Sent: Tuesday, December 20, 2022 10:24 AM
To: Vuong, Maggie <mvuong@omm.com>; support@desertcart.com; rahul@piffert.com;
rahul@swaminathan.com
Cc: Eberhart, David R. <deberhart@omm.com>; Pink, Scott W. <spink@omm.com>; Gosewehr, Katie
<kgosewehr@omm.com>
Subject: Re: Trader Joe’s Company / DesertCart Trading - [XVM-GSQSF-404]


[EXTERNAL MESSAGE]

Hi Vuong,,

Thank you so much for raising your concern regarding the item that is listed on our website.

Online merchants tend to sell their products on different platforms to access a far reach and
gaining new customers. We believe the same principle goes with Desertcart and all other
online shopping websites. Desertcart helps our customers ship products across the world from
stores around the world.

Please see our "About Us" page for more information.

We'd like to help you further, please send an email to our legal department for any legitimate
legal claims to our legal department at legal@desertcart.com.

If you are based in the UAE, kindly attach a copy of the Commercial Agencies Certificate
attested from Dubai Ministry of Economy so we can help you further with your claims.

Thank you and we hope this helps.




Sincerely,
April Marie
Customer experience
The DesertCart™ team - SERVICE is our top priority.
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Dubai, United Arab Emirates
Tel: 04 524 5555
http://www.desertcart.ae

Go to our FAQ page to know more about us!

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Please take a second to rate my reply:
https://help.desertcart.ae/ticket_Xi3P3JmTvrm1ztQ6




-----Original message-----
From: 'Vuong, Maggie' via support <support@desertcart.com>
Sent: 12/17/2022 01:17:20

      Dear Mr. Swaminathan:



      Please find attached correspondence from David Eberhart.



      Hard copy will follow via FedEx.



      Thank you.



      Maggie



      O’Melveny
      Maggie T. Vuong
      Assistant to Adam KohSweeney, David Almeling, Susannah Howard, Bill Trac, Kristin MacDonnell, Katie
      Gosewehr, Madeleine Patton, Katy Ho, Rebecca Kim, and Kiphanie Radford
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